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                                      United States District Court
                                      Southern District of Texas
                                           Houston Division
Federal Trade Commission                              §
                                                      §
versus                                                §             Civil Action 4:24−cv−02508
                                                      §
Tempur Sealy International, Inc., et al.              §


                                Notice of Filing of Official Transcript
An official transcript has been filed:
                                             Transcript − #362

Transcripts may have information restricted from public disclosure. See E-Government Act of 2002,
Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

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To comply with the rules on privacy, the parties must redact protected information before then.

If redaction is needed, the parties must file a statement listing the items to be redacted, with the
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being filed. A sample statement of redaction form can be found on the court's public website at
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         •   Last four digits of a social security number or taxpayer identification number;
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         •   Opening and closing statements made for that party;
         •   Statements by that party;
         •   Testimony of witnesses called by that party; and
         •   Other parts ordered by the court.

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transcripts for compliance.

Date: November 19, 2024                                          Nathan Ochsner, Clerk
